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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 16-62976-CIV-ZLOCH


  ABDELALI BOULAL,

             Plaintiff,                      FINAL ORDER OF DISMISSAL

  vs.

  CREDIT CORP. SOLUTIONS, INC.,

             Defendant.
                                     /
        THIS MATTER is before the Court upon the Joint Stipulation For
  Dismissal With Prejudice (DE 20), filed herein by both Parties.
  The Court has carefully reviewed said Stipulation, the entire court
  file and is otherwise fully advised in the premises.
        Accordingly, after due consideration, it is
        ORDERED AND ADJUDGED as follows:
        1. The Parties’ Joint Stipulation For Dismissal With Prejudice
  (DE 20) be and the same is hereby approved, adopted, and ratified
  by the Court;
        2. The above-styled cause be and the same is hereby DISMISSED
  with prejudice; and
        3. To the extent not otherwise disposed of herein, all pending
  motions are hereby DENIED as moot.
        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward
  County, Florida, this         24th       day of July, 2017.



                                       WILLIAM J. ZLOCH
                                       Sr. United States District Judge


  Copies furnished:

  All Counsel of Record
